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                                                                   United States Courts
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                                                                       June 11, 2018
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                                                               David J. Bradley, Clerk of Court
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                                                  AMENDED




XXXXXXXXXXXXXXXXXXXXXXXXXX
BREEANNA LYNAE BROWN, a/k/a "BB"
                                                 4/20/2018 Judge Walters ordered Indictment
                                                 to be amended to correct defendant's first
                                                 name to BREEANNA LYNAE BROWN
                                                 a/k/a "BB"
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                 BREEANNA LYNAE BROWN a/k/a "BB"




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                 BREEANNA LYNAE BROWN a/k/a "BB"
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